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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION



 UNITED STATES OF AMERICA

 v.                                           Case No. 3:06-cr-289-J-33MCR

 RODNEY LEON SMITH
 _____________________________________/

                                      ORDER

         This cause comes before the Court pursuant to the Motion for

 New Trial (Doc. # 167) filed by Smith on March 13, 2008.                The

 government filed a response on March 27, 2008.          (Doc. # 169.)   For

 the reasons stated below, Smith’s motion for new trial is DENIED.

 I.      Background

         On March 6, 2008, following a jury trial Smith was found

 guilty on one count of conspiracy to distribute cocaine base, and

 on five separate counts of substantive offenses involving cocaine

 base.    (Doc. # 164.)   On March 13, 2008, Smith filed his motion for

 new   trial.     (Doc.   #   167.)    This   motion   states   twenty-three

 arguments for a new trial.           Unfortunately, these arguments are

 pressed with only a very general reference to “the Fourth, Fifth,

 and Sixth Amendments of the Constitution of the United States, Rule

 16 of the Federal Rules of Criminal Procedure, and Rules 404(b),

 802, 803 of the Federal Rules of Evidence.”           (Doc. # 167, at 3.)

 That notwithstanding, it is apparent that the motion requests

 relief on essentially three theories.         First, the motion contends

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 that    there       was   insufficient       evidence     to    sustain   Smith’s

 convictions.        On that theory, it would seem, the motion requests

 that the Court set aside the guilty verdict and enter a judgment of

 acquittal.      Second, the motion argues that the verdict is contrary

 to the weight of the evidence.                Third, the motion challenges

 various Court rulings governing the course of the trial.                  On these

 latter two theories, it appears, the motion requests that the Court

 grant a new trial.

 II.    Standard of Decision

        “Upon    the    defendant’s    motion,    the    court   may    vacate   any

 judgment and grant a new trial if the interest of justice so

 requires.”      Fed. R. Crim. P. 33.         Additionally, the court may set

 aside a guilty verdict and enter a judgment of acquittal.                  Fed. R.

 Crim. P. 29(c)(2).

        Where    a     motion   for   judgment    of     acquittal     attacks   the

 sufficiency of the evidence, the court “must view the evidence in

 the light most favorable to the government, and determine whether

 a reasonable jury could have found the defendant guilty beyond a

 reasonable doubt.”         United States v. Molina, 443 F.3d 824, 828

 (11th Cir. 2006) (quoting United States v. Miranda, 425 F.3d 953,

 959 (11th Cir. 2005)).         This is a question of law.           Id.

        In the related situation where a motion for new trial attacks

 the jury’s verdict as against the weight of the evidence, though,

 the standard is different.           See Butcher v. United States, 368 F.3d


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 1290,    1297     n.4     (11th     Cir.    2004)       (noting       difference      between

 standards).       Rather than presenting a question of law, “[a] motion

 for a new trial is addressed to the sound discretion of the trial

 court.”    United States v. Martinez, 763 F.2d 1297, 1312 (11th Cir.

 1985).      The      court    may    “weigh       the   evidence       and    consider   the

 credibility of witnesses.” Id.; accord United States v. Cross, 258

 F. App’x 259, 261 (11th Cir. 2007).                     “If the court concludes that

 . . . the evidence preponderates sufficiently heavily against the

 verdict that a serious miscarriage of justice may have occurred, it

 may set aside the verdict, grant a new trial, and submit the issues

 for determination by another jury.”                      Martinez, 763 F.2d at 1312

 (internal quotation marks omitted); accord Cross, 258 F. App’x at

 261.     The court may follow this course even if the evidence is

 legally sufficient to sustain the verdict.                          Martinez, 763 F.2d at

 1312; accord Cross 258 F. App’x at 261; see also Butcher, 368 F.3d

 at 1297 n.4 (“In a proper case -- a case in which the evidence of

 guilt     although        legally     sufficient          is    thin     and    marked     by

 uncertainties and discrepancies -- there is room between the two

 standards      for    a   district        court    to    reweigh       the    evidence   and

 reevaluate the credibility of witnesses.” (internal quotation marks

 and citation omitted)).             However, the Eleventh Circuit has stated

 that    “[a]    motion       for    new    trial    must       be    viewed    with    ‘great

 caution.’” United States v. Reed, 887 F.2d 1398, 1404 (11th Cir.

 1989) (quoting United States v. Hall, 854 F.2d 1269, 1271 (11th


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 Cir. 1988)).

       Where a motion for new trial argues that the court committed

 errors during the trial, “the convicted defendant has the burden of

 showing that (1) some error was in fact committed and (2) that such

 error was prejudicial to him.”            United States v. Simms, 508 F.

 Supp.   1188,    1203   (W.D.   La.   1980);      accord   United   States   v.

 DeLaughter, No. 8:07-cr-201, 2007 WL 3034645, at *1 (M.D. Fla. Oct.

 16, 2007).      Even if the defendant has made such a showing, a new

 trial is not warranted unless the error affected the defendant’s

 substantial     rights.     Simms,    508    F.    Supp.   at   1203;   accord

 DeLaughter, 2007 WL 3034645, at *1; see also Fed. R. Crim. P. 52(a)

 (“Any error, defect, irregularity, or variance that does not affect

 substantial rights must be disregarded.”).            “An error affects the

 defendant’s substantial rights if it probably had a substantial

 influence on the jury’s verdict.”         United States v. Rodriguez, 259

 F. App’x 270 (11th Cir. 2007) (internal quotation marks omitted)

 (quoting United States v. Stephens, 365 F.3d 967, 976–77 (11th Cir.

 2004)).   The court must inquire whether the error “was more likely

 than not a substantial factor” in the conviction.               See Stephens,

 365 F.3d at 980 (remanding for new trial after concluding that

 district court’s evidentiary error “was more likely than not a

 substantial factor in [the defendant’s] conviction”).




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 III. Discussion

        A.    Sufficiency and Weight of the Evidence

        The first five and ninth numbered paragraphs of Smith’s motion

 all challenge the sufficiency or weight of the evidence.                             These

 paragraphs merely state that the evidence was insufficient, or that

 the verdict was contrary to the weight of the evidence.                       Specifics

 are entirely omitted.           Faced with such bare statements, the Court

 declines    to    comb    the     record   and    list    all       the   evidence    that

 supported    each       element    of   each     offense       on    which   Smith    was

 convicted.       Instead, the Court states simply that the evidence was

 more than merely sufficient.            As a result, a judgment of acquittal

 is not warranted.         Moreover, the Court heard all the evidence at

 this    trial     and    now    determines       that    the    evidence      does     not

 preponderate against the jury’s verdict. Consequently, a new trial

 is unwarranted.

        B.    Denial of Smith’s Motion to Suppress

        Smith states, “The Court erred in denying Defendant’s Motion

 to Suppress Evidence and Statements (Doc. # 82).”                         (Doc. # 167.)

 This is the entirety of Smith’s argument on this point, and it is

 unavailing.       The Magistrate Judge held a hearing and entered a

 report and recommendation on Smith’s motion to suppress.                        (Doc. #

 90.)    Smith filed several objections.                  (Doc. # 97.)         The Court

 analyzed and overruled each objection, adopting the report and

 recommendation.          (Doc. # 112.)         The issues surrounding Smith’s


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 motion to suppress have been thoroughly treated already.          In light

 of Smith’s failure to advance any specific argument, the Court

 declines to revisit this matter.          Suffice it to say that the

 Court’s ruling on Smith’s motion to suppress was not in error.

 Thus, a new trial is not warranted on this ground.

       C.     Denial of Smith’s Motion in Limine

       Smith also states, “The Court erred in denying Defendant’s

 Motion in Limine (Doc. # 142).”          (Doc. # 167.)      This argument

 suffers from the same deficiency addressed immediately above. This

 issue has already been addressed, and Smith does not explain why

 the Court’s initial ruling was error. The Court concludes that its

 initial ruling was correct, and a new trial is not warranted on

 this ground.

       D.     Denial of Smith’s Motion to Dismiss for Failure to
              Disclose Brady/Giglio Material

       Smith’s next asserted error follows the pattern. Smith simply

 states, “The Court erred in denying Defendant’s Motion to Dismiss

 for Failure to Disclose Brady/Giglio Material (Doc. # 139).” (Doc.

 # 167.)    Smith does not explain why the Court’s initial ruling was

 incorrect.      The Court concludes that its initial ruling was

 correct, and a new trial is not warranted on this ground.

       E.     Denial of Smith’s Motions for Mistrial

       In the last of Smith’s entirely conclusory arguments, he

 states, “The Court erred in denying the Defendant’s Motion for



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 Mistrials.” (Doc. # 167.) Smith provides no more explanation than

 this, and the Court concludes that its initial rulings on such

 motions were correct.      A new trial is unwarranted.

       F.    Juror Challenge

       In paragraph 11, Smith argues that the Court committed error

 by refusing to strike a venireman for cause.             The venireman’s

 brother-in-law is a court security officer in this courthouse, but

 he was not involved in these proceedings.         When the Court denied

 Smith’s request to strike this venireman for cause, Smith used one

 of his peremptory strikes to remove the venireman.              Thus, the

 challenged venireman did not sit on the jury.         Smith subsequently

 exhausted his remaining peremptory strikes and arguably requested

 an additional peremptory strike.1         The Court did not grant an

 additional peremptory strike.

       If the Court’s refusal to remove the challenged venireman was

 error, it was not error that affected Smith’s substantial rights.

 In United States v. Martinez-Salazar, the Supreme Court addressed

 a nearly identical situation.        528 U.S. 304 (2000).       The trial

 Court erroneously refused to remove for cause a venireman, and the

 defendant cured the error by using a peremptory strike.             Id. at



       1
       Smith explained to the Court that he was required to use a
 peremptory strike on the challenged venireman, and that strike was
 thus unavailable to strike another venireman who was seated on this
 jury. Smith asked that the Court strike that juror in light of his
 use of a peremptory strike to remove the challenged venireman. The
 Court denied the request.

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 309.   There were no challenges to the jury that actually convicted

 the defendant. Id. at 310. Nevertheless, the defendant challenged

 his conviction on the theory that the trial court’s error cost him

 a peremptory strike by forcing him to use it to correct the error.

 Id. at 309.     The Supreme Court explained that the trial court’s

 error did not cost the defendant a peremptory challenge.            Id. at

 315–16.   Instead, the defendant “used the challenge in line with a

 principal     reason    for     peremptories:    to    help   secure     the

 constitutional guarantee of trial by an impartial jury.”            Id. at

 316.     The Supreme Court held “that a defendant’s exercise of

 peremptory challenges pursuant to Rule 24(b) is not impaired when

 the defendant chooses to use a peremptory challenge to remove a

 juror who should have been excused for cause.”          Id. at 317.

        Unlike in Martinez-Salazar, in the present case, Smith said at

 trial that he would have used the peremptory strike to remove a

 juror had Smith not been forced to use it to remove the challenged

 venireman.    Because he had exhausted his peremptory strikes, the

 juror was seated. Smith never questioned this juror’s impartiality

 or the impartiality of the jury as a whole.           As a result, Smith’s

 argument is simply that he did not get his full complement of

 peremptory strikes because he was forced to use one to produce an

 impartial jury, i.e. to correct the Court’s refusal to strike the

 challenged    venireman   for    cause.   This   argument,    however,   is

 foreclosed by Martinez-Salazar. The Supreme Court held that having


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 to use a peremptory strike to produce an impartial jury did not

 impair the right to peremptory strikes under Federal Rule of

 Criminal   Procedure    24.    Id.       The   high   court   reasoned   that

 production of an impartial jury is a “principal reason” for the

 existence of peremptory challenges.             Id. at 315–16.       When a

 challenge is used to that end, therefore, a defendant cannot claim

 that the right to peremptory challenges was infringed.2


       2
       In a concurring opinion, Justice Souter suggested that the
 right to peremptory strikes may be infringed where the defendant is
 prevented from using a peremptory strike for a non-curative purpose
 because he was forced to use the strike to cure the court’s error.
 Martinez-Salazar, 528 U.S. at 317–18 (Souter, J., concurring) (“I
 write only to suggest that this case does not present the issue
 whether it is reversible error to refuse to afford a defendant a
 peremptory challenge beyond the maximum otherwise allowed, when he
 has used a peremptory challenge to cure an erroneous denial of a
 challenge for cause and when he shows that he would otherwise use
 his full complement of peremptory challenges for the noncurative
 purposes that are the focus of the peremptory right.”). Thus, the
 central difference between the majority and concurring opinions is
 the importance ascribed to those uses of peremptory strikes not
 aimed simply at producing an impartial jury. The majority opinion
 called the production of an impartial jury “a principal reason for
 peremptories,” id. at 316, while Justice Souter called other
 purposes “the focus of the peremptory right,” id. at 318.

      In the present case, Smith stated he wanted to use for one of
 Justice Souter’s other purposes the peremptory strike he spent
 producing an impartial jury.     Accepting the reasoning of the
 majority opinion, the Court determines that this simply is not an
 impairment of Smith’s right to peremptory strikes.

      But, even under Justice Souter’s reasoning, the Court’s
 refusal to strike the challenged venireman for cause would not
 warrant a new trial.    The Court asked the challenged venireman
 whether anything her brother-in-law might have told her would
 affect the venireman’s ability to be fair and impartial.        The
 venireman answered in the negative and elaborated that her brother-
 in-law does not discuss his work very much. Smith did not ask any
 follow-up questions of the venireman. Faced with this information,

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       Accordingly, even if it was error for the Court to deny

  Smith’s for-cause challenge to the venireman, the error did not

  deprive Smith of his right to peremptory challenges.            Moreover,

  Smith does not argue that the jury in his trial was not impartial.

  Thus, Smith’s right to an impartial jury was unaffected. In short,

  Smith’s   asserted   error   did   not   have   any   effect   on   Smith’s

  substantial rights.     Consequently, this ground does not support a

  new trial.

       G.      Special Agent Smith’s Expert Testimony

       In paragraph 12, Smith argues that the Court made two errors:

  (1) allowing Special Agent Smith3 to testify as an expert and (2)

  failing to direct Special Agent Smith to provide responsive answers

  to Smith’s questions on cross-examination.

       First, the Court did not err in allowing Special Agent Smith

  to testify as an expert in this case.           Special Agent Smith is a

  Florida Department of Law Enforcement agent with almost four years

  of experience in narcotics investigations. He has a college degree

  in criminology and has attended various law enforcement courses.

  He testified that he had become intimately familiar with drug slang

  and coded drug language.        Similarly, he testified that he had


  the Court quite properly concluded that the venireman would have
  been impartial had she been seated on this jury. See United States
  v. Dickerson, 248 F.3d 1036, 1045 (11th Cir. 2001).
       3
        To avoid confusion, Special Agent Smith is referred to herein
  as “Special Agent Smith,” and defendant Rodney Smith is referred to
  simply as “Smith.”

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  become familiar with the local market prices for cocaine and with

  the personal and distribution quantities of cocaine base. Based on

  this testimony, the Court found that Special Agent Smith was

  qualified to testify as an expert in drug language, the local

  market price of cocaine, and the difference between personal and

  distribution quantities of cocaine base.            Smith objected but

  advanced no specific argument in support of his objection.

       The Eleventh Circuit has “recognized the well-established rule

  that an experienced narcotics agent may testify as an expert to

  help a jury understand the significance of certain conduct or

  methods of operation unique to the drug business.”         United States

  v. Garcia, 447 F.3d 1327, 1355 (11th Cir. 2006) (internal quotation

  marks omitted).    Additionally, a police officer may testify as an

  expert in interpretation of “drug codes and jargon.” Id. (internal

  quotation marks omitted).      This is exactly what the Court allowed

  Special Agent Smith to do in this case.      Smith has pressed only the

  bare argument that this was error.       (Doc. # 167.)    In the absence

  of a more specific argument, the Court must simply reaffirm its

  decision to permit Special Agent Smith to testify as an expert.

  This testimony was proper under Garcia, and a new trial is not

  warranted on this ground.

       Second, while the Court notes that Special Agent Smith was




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  occasionally less than cooperative on cross-examination,4 Smith was

  not prevented from getting responsive answers to his questions on

  cross-examination.    No error was committed, and a new trial is not

  warranted on this ground.

        H.    Information from the Confidential Source

        In paragraph 13, Smith argues that “a multitude of hearsay”

  was   improperly   admitted    at    trial.        (Doc.   #   167.)     Smith

  specifically identifies “Special Agent Travis Smith’s testimony

  about what the confidential source told him out of court.”              (Doc.

  #   167.)    Smith   contends       that    this   violated    his   right   to

  confrontation under the Sixth Amendment.           (Doc. # 167.)

        Smith refers to “a multitude of hearsay,” but the Court

  recalls only one such incident.            Smith identifies this incident

  specifically in paragraph 14.              (Doc. # 167.)       In his cross-

  examination of Special Agent Smith, Smith was challenging the

  reliability of the confidential informant.             Smith asked whether

  Special Agent Smith had trained the confidential informant to trick

  people.     Special Agent Smith said he did not understand the

  question.   Then Smith asked whether the confidential informant was


        4
        For example, Special Agent Smith testified on direct that he
  gave certain funds to a confidential informant to buy cocaine base
  from Smith. Smith inquired on cross-examination whether Special
  Agent Smith marked this money or prepared it in any way before
  giving it to the confidential informant. Special Agent Smith’s
  initial response was that he had never marked or defaced currency.
  Additionally, Special Agent Smith feigned confusion on several
  matters on cross-examination.    Once or twice, this created an
  unseemly “who’s on first” exchange.

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  acting as a real drug dealer or only posing as a drug dealer when

  he made the controlled phone calls in this case.               Special Agent

  Smith again responded that he did not understand the question.

  Smith then asked whether the confidential informant was a real drug

  dealer during the time frame covered in the indictment.                Special

  Agent Smith responded that the confidential informant told Special

  Agent Smith that he was buying drugs from Smith before the events

  involved in this case transpired. At first glance, the Court ruled

  contemporaneously that Smith had opened the door to this testimony.

  Then Smith asked whether the confidential informant had been

  dealing drugs on the side even while working for the government.

  Special Agent Smith answered that, during trial preparation, the

  confidential informant told the government that he had been buying

  cocaine base from Smith on the side without the government’s

  knowledge      during   the   investigation.        During   this    fast-paced

  exchange, the Court ruled that Smith had opened the door to this

  testimony.

         Later, the Court excused the jury and revisited this issue.

  The Court entertained argument and promised to study the issue and

  give a curative instruction if needed. The next morning, the Court

  offered to give a curative instruction if Smith wanted to propose

  one.     The    Court   asked    Smith    to   draft   a   specific    curative

  instruction on this issue and submit the proposed instruction the

  next   day.      Instead,     Smith   drafted   a   “curative”      instruction


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  directing the jury to weigh with great care all out-of-court

  statements.       The Court declined to give such an instruction, and

  again asked Smith if he would like the Court to give a specific

  curative instruction.          Smith declined the offer.5

          In short, the Court offered a curative instruction to correct

  any exposure of inadmissible hearsay -- or prior bad acts -- to the

  jury.        Smith    made    a   strategic   decision    to   forgo    such   an

  instruction.         That was Smith’s decision to make, and the Court

  committed no error.          Even if this was erroneous, though, the Court

  finds that Special Agent Smith’s testimony on this matter was not

  a substantial factor in Smith’s conviction.              Thus, a new trial is

  not warranted on this ground.

          I.    Audio Recordings

          In paragraph 15, Smith argues that the Court erroneously

  admitted audio recordings of controlled calls between himself and

  the confidential informant.           Smith mounts a two-pronged challenge.

  First, he explains that the audio recordings were not consensual

  and contends that they should have been excluded for that reason.

  Second,      he   asserts      that   there   was   no   evidence      of   voice

  identification.



          5
        In paragraph 23, Smith argues that the Court erred in
  declining to give Smith’s special curative instruction. At trial,
  the Court concluded that Smith’s instruction was too general to be
  effective and in fact mischaracterized the appropriate use of
  certain out-of-court statements. The Court’s refusal to deliver
  this instruction was not error.

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        This second prong deserves little discussion.               Smith’s memory

  of    the    trial    is    faulty.        There     was   evidence      of    voice

  identification.       Special Agent Smith testified that he identified

  Smith’s voice on the other end of the telephone calls.                        Special

  Agent Smith heard Smith’s voice firsthand following his arrest.

        The first prong of Smith’s challenge appears to proceed on the

  theory that the government was required to have either Smith’s

  consent or a warrant before it could record these telephone calls.

  This is not so. Obviously, the confidential informant consented to

  the recording of these telephone calls. The Supreme Court has long

  held that the government does not violate the Fourth Amendment by

  employing a secret agent clandestinely to record his communications

  with the target of surveillance.           United States v. White, 401 U.S.

  745   (1971).        This   is   because     a    wrongdoer    does    not    have   a

  constitutionally justifiable expectation that his confidant will

  not record their conversation and turn it over to the government.

  Id. at 751.

        Inescapably, one contemplating illegal activities must
        realize and risk that his companions may be reporting to
        the   police.     If   he  sufficiently   doubts   their
        trustworthiness, the association will very probably end
        or never materialize. But if he has no doubts, or allays
        them, or risks what doubt he has, the risk is his.

  Id.   at    752.     When   Smith     communicated      with   the    confidential

  informant, he ran the risk that the conversation would be recorded

  and turned over to the government.               That is exactly what happened,

  and the law gives no quarter to Smith’s complaint.                    The Court did

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  not err by admitting the recordings, and a new trial is not

  justified on this ground.

       In    paragraph   16,   Smith   argues   that   the   Court   erred   in

  admitting transcripts of these recorded telephone calls because

  there was no evidence of the accuracy of the transcripts. Smith is

  mistaken.     Special Agent Smith testified that he prepared these

  transcripts and reviewed them line-by-line to ensure they were

  accurate.    A new trial is not warranted on this ground.

       J.      Limitations on Cross-Examination

       In    paragraph   17,   Smith   argues   that   the   Court   erred   by

  chastising his counsel for cross-examining a government witness

  with a traffic ticket that had not previously been shown to the

  government. This exchange occurred at sidebar, and therefore could

  not possibly have had a substantial influence on the jury’s

  verdict.     Consequently, a new trial is not warranted on this

  ground.

       In    paragraph   18,   Smith   argues   that   the   Court   erred   in

  preventing Smith from eliciting from a government witness that the

  witness had been accused of shooting the brother of Smith’s co-

  defendant.     (Doc. # 167.)    The government’s witness was Anthony

  Bennett, and he had testified on direct examination that he bought

  crack cocaine from Smith at the Gambia Woods Apartments on numerous

  occasions.    (See, e.g., Doc. # 172, at 24.)        On cross-examination,

  Smith’s counsel inquired whether Bennett had ever been asked not to


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  return to the Gambia Woods Apartments.         (Doc. # 172, at 31.)    The

  government objected, and requested a conference at sidebar.           (Doc.

  # 172, at 31.)    At sidebar, the government explained that Smith’s

  counsel was attempting to bring out testimony that Bennett had been

  accused of shooting the brother of Smith’s co-defendant.          (Doc. #

  172, at 31–32.)     The government argued that this impeachment of

  Bennett’s   character    for   truthfulness    was   impermissible    under

  Federal Rule of Evidence 609 because Bennett had not been convicted

  of the shooting.    (Doc. # 172, at 32.)       Smith’s counsel countered

  that he was not attempting to impeach Bennett’s credibility. (Doc.

  # 172, at 32.)    Rather, he was simply trying to show that Bennett

  was not at the Gambia Woods Apartments to buy cocaine from Smith

  because Bennett was prohibited from being there.6         (Doc. # 172, at

  32.)

         The Court excluded the evidence on two rationales. First, the

  evidence was not proper impeachment of Bennett’s character for

  truthfulness because it did not meet the requirements of Rule 609.

  (Doc. # 172, at 32.)     Second, the evidence was inadmissible under

  Rule 403 because its probative value for other purposes was

  substantially outweighed by the risk of unfair prejudice.          (Doc. #

  172, at 32.)   This ruling was correct.       Rule 609 provides, “For the

  purpose of attacking the character for truthfulness of a witness,


         6
        Presumably, though this was never explained, the shooting
  resulted in Bennett’s persona non grata status at the Gambia Woods
  Apartments.

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  . . . evidence that a witness other than an accused has been

  convicted of a crime shall be admitted . . . .”               Fed. R. Evid

  609(a) (emphasis added).        Thus, evidence that Bennett was accused

  of the shooting is not admissible under Rule 609.7

       Inasmuch as the evidence was offered to show Bennett was not

  actually   at    the   Gambia    Woods    Apartments,   its   probity   was

  substantially outweighed by the risk of unfair prejudice.               The

  Court did not prevent Smith from eliciting testimony that Bennett

  was prohibited from being at the Gambia Woods Apartments, only from

  eliciting that the reason for the prohibition was because Bennett

  was accused of shooting a defendant’s brother.           That Bennett was

  prohibited from being at the Gambia Woods Apartments is somewhat

  probative of whether he actually bought crack cocaine there from

  Rodney Smith.8    But the reason behind the prohibition contributes

  very little to this analysis.             And in this case, that reason

  carried great risk of unfair prejudice.           Bennett was accused of



       7
        The evidence was not proper impeachment under Rule 608(b),
  either. That rule allows impeachment of a witness’ character for
  truthfulness by inquiry into specific instances of the witness’
  conduct.   The rule permits this inquiry, though, only if the
  conduct is “probative of truthfulness or untruthfulness.” Fed. R.
  Evid. 608(b). In this case, the shooting was simply not probative
  of truthfulness or untruthfulness. See United States v. Parker,
  133 F.3d 322, 327 (5th Cir. 1998) (“Violent crimes . . . are
  irrelevant to a witness’s character for truthfulness.”).
       8
        This is only somewhat probative. Bennett was not shy about
  admitting his sales of crack cocaine. It is no mere speculation
  that one who flouts the nation’s drug laws might also disregard an
  order to stay away from the Gambia Woods Apartments.

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  shooting       the    brother    of     a    defendant     in    this   trial.         That

  information      may     have    provoked      in   the    jury      sympathy    for   the

  defendant, and disgust at the government for dealing with such a

  person    as    Bennett.         This       great   danger      of   unfair     prejudice

  substantially outweighed the minimal probity of the reason behind

  Bennett’s persona non grata status.                 Accordingly, it was not error

  for the Court to exclude this evidence, and a new trial is not

  warranted on this ground.

       In paragraph 21, Smith argues, “The Court erred by generally

  limiting       defense     counsel’s         cross-examination          based    on    the

  Government’s nebulous objections.”                   The Court does not recall

  limiting       any     party’s     cross-examination            based     on    nebulous

  objections.          Accordingly, a new trial is not warranted on this

  ground.

       K.        Florida Department             of    Law    Enforcement         Employees’
                 Testimony

       In paragraph 19, Smith contends, “The Court erred by limiting

  defense    counsel’s       questioning         of   FDLE   Analyst      Vicky    Young’s

  testimony as to the chain of custody of evidence without any prior

  testimony authenticating such evidence.”                     (Doc. # 167.)       This is

  the entirety of Smith’s discussion of this issue, and the Court is

  unsure precisely what Smith’s argument is.

       Young, an evidence clerk with the Florida Department of Law

  Enforcement, testified that she received two packages of cocaine

  from law enforcement officers. She marked these with bar codes and

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  stored them.    When these packages were introduced at trial, Young

  recognized them as the same packages she had received from the law

  enforcement officers. Later, Special Agent Smith testified that he

  received one of these packages from a confidential informant who

  himself purportedly received it from Smith.           Special Agent Smith

  testified that the other package was discovered in Smith’s green

  Buick on August 2, 2006, when Smith was arrested.            Special Agent

  Smith testified that he submitted these packages to Young.

       Federal Rule of Evidence 901 requires authentication of real

  evidence.    To authenticate an item of real evidence, the proponent

  must present “evidence sufficient to support a finding that the

  matter in question is what its proponent claims.”            Fed. R. Evid.

  901(a).     Ultimately, that is exactly what the government did in

  this case.    It is unimportant that Young’s testimony by itself was

  insufficient to support a finding that the cocaine in these two

  packages was the same cocaine distributed by, or seized from,

  Smith.        Inasmuch   as    Smith     challenges    the    cocaine   as

  unauthenticated, Smith’s challenge must fail.            The cocaine was

  properly authenticated by a combination of testimony in this case.

  The Court did not err, and a new trial is unwarranted on this

  ground.

       Inasmuch as Smith challenges a limitation on his cross-

  examination of Young, Smith’s objection is too general to be

  analyzed.     Suffice it to say that the Court did not improperly


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  limit cross-examination of this witness, and a new trial is

  unwarranted on this ground.

       In paragraph 20, Smith states, “The Court erred by limiting

  defense counsel’s questioning of FDLE Chemist Katherine Warniment,

  during cross-examination, about her qualifications and evidence

  that was not submitted for testing.”          (Doc. # 167.)     Warniment

  testified that she analyzed one of the packages of cocaine.             On

  cross-examination, Smith asked whether Warniment had training in

  hair analysis, tire impression analysis, textile fundamentals, and

  other forensic sciences.     The Court sustained relevance objections

  to this line of questioning.             Smith declined to explain the

  relevance of this line of questioning during trial, and he has not

  since explained it.    On their face, these questions were not aimed

  at eliciting relevant evidence.           Thus, in the absence of any

  argument for their possible relevance, the Court did not err in

  sustaining relevance objections to these questions.            See United

  States v. George, 201 F.3d 370, 372–73 (5th Cir. 2000) (affirming

  exclusion    of   facially    irrelevant     evidence   in    absence   of

  demonstration of possible relevance).        As a result, a new trial is

  unwarranted on this ground.

       L.     Government’s Closing Argument

       In his closing argument, Smith pointed to problems with the




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  government’s case9 and suggested that Special Agent Smith had

  scripted the entire prosecution to cover up novice-level police

  work.       Thus, Smith’s theory was that a novice narcotics agent

  orchestrated Smith’s prosecution to further the narcotics agent’s

  own career.        In rebuttal, the prosecutor commented sarcastically

  that he now has to indict every member of the narcotics task force

  involved in this case.         In paragraph 22, Smith argues that the

  Court erred by denying Smith’s motion for a mistrial based on this

  comment.

          Not so.    The skilled prosecutor stayed within the bounds of

  permissible argument.         He may have come close to the improper

  implication “that the government’s vast investigatory network,

  apart from the orderly machinery of the trial, knows that the

  accused is guilty or has non-judicially reached conclusions on

  relevant facts which tend to show he is guilty,” Hall v. United

  States, 419 F.2d 582, 584 (5th Cir. 1969), but he never actually

  made that implication.        The prosecutor’s statement about indicting

  members of the task force implied only that, to believe Smith’s

  defense,     the    jury   would   also    have   to   believe   that   the   law

  enforcement officers were criminals. The prosecutor refrained from


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        Smith noted that one law enforcement officer refreshed his
  recollection by reading from another officer’s report, that the
  government surveillance tape went blank at just the time it would
  have captured the image of the person who sold drugs to the
  confidential informant, that no fingerprints appeared on the
  baggies of cocaine base, and that there were some inconsistencies
  in testimony.

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  any improper argument that the government did not indict these

  officers because it knew, based on facts developed apart from the

  orderly machinery of the trial, that they were not criminals.          Nor

  did the prosecutor personally vouch for the integrity of the

  officers with this statement.       The prosecutor’s statement simply

  was not improper, and a new trial is not warranted on this ground.

       Accordingly, it is

       ORDERED, ADJUDGED, and DECREED:

       Defendant Rodney Smith’s Motion for New Trial (Doc. # 167) is

  hereby DENIED.

       DONE and ORDERED in Chambers in Jacksonville, Florida, this

  7th day of July 2008.




  Copies:    All Counsel of Record




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